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                     IN   THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


A.D., by and through her guardian ad litem      Case No. 1:14-cv-10106
Judith Serrano, on behalf of herself and
all others similarly situated,
                                                             Complaint
      Plaintiffs,

              v.                                Class Action

Credit One Bank, N.A.,                          Jury Trial Demanded

      Defendant.



      Plaintiff A.D., by and through her guardian ad litem Judith Serrano (“Plaintiff”),

individually and on behalf of all others similarly situated, makes the following

allegations and claims against Credit One Bank, N.A., upon personal knowledge,

investigation of her counsel, and on information and belief.

      1.      This action seeks redress for business practices that violate the Telephone

Consumer Protection Act of 1991, 47 U.S.C. § 227 (“TCPA”).

      2.      This Court has jurisdiction to grant the relief sought by Plaintiff pursuant

to 47 U.S.C. § 227(b), 15 U.S.C. § 1692k(d), and 28 U.S.C. § 1331.

      3.      Venue is proper in this district as Defendant resides within the district

and does business here.

                                          Parties

      4.      Plaintiff A.D., is a minor, age 15 at the time of filing, and is a natural

person who resides in San Diego, California. Plaintiff is the regular and exclusive user

of a cellular telephone with service registered in the name of her parent. Pursuant to




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the terms of service, the account is charged for each call within the meaning of 47

U.S.C. § 227(b)(1)(A)(iii).

       5.      Defendant Credit One Bank, N.A. (“Credit One”) is a national bank and

an issuer of consumer revolving debt. Defendant is organized under the National

Banking Act, has its principal place of business in Nevada, and does business in every

state including Illinois.

                                           Facts

       6.      Directly as well as through its subsidiaries, contractors and agents,

Defendant employs hundreds of persons at various call centers throughout the country

and overseas. These calling centers use automatic telephone dialing systems and

computerized account information to track, record, and maintain the tens of thousands

of accounts serviced by Defendant

       7.      Defendant’s regular business practices include making repeated phone

calls to persons it believes responsible for paying past-due accounts.

       8.      On or around October 19, 2014, Defendant began calling Plaintiff on her

cellular telephone using an automatic telephone dialing system. At no time did

Plaintiff give her consent for Defendant to place such calls to her. At no time did

Plaintiff engage in any transaction with Defendant or do business with Credit One in

any way.

       9.      Between October 19, 2014 and November 9, 2014, inclusive, Defendant

placed at least twelve calls at different times to Plaintiff’s cellular telephone. Based on

the content of the messages left and the conversations with Defendant’s agents who

spoke on the phone, Plaintiff believes that Defendant was seeking to collect on a

consumer loan extended to another person.



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       10.    Each of the calls placed by Defendant was made by means of an

automatic telephone dialing system as defined by the Federal Communications

Commission.

       11.    Directly as well as through its subsidiaries, contractors and agents,

Defendant employs hundreds of persons at various call centers throughout the country.

These calling centers use automatic telephone dialing systems and computerized

account information to track, record, and maintain the hundreds of thousands of debts

collected by Defendant.

       12.    A significant portion, if not a majority, of Defendant’s business operations

are dedicated to servicing consumer revolving credit accounts that are in default.

Defendant’s regular business practices include making repeated phone calls, as well as

sending notices, statements, bills, and other written correspondence to persons it

believes responsible for paying past-due accounts.

       13.    In 1991, Congress enacted the TCPA in response to a growing number of

consumer complaints regarding certain telemarketing and debt collection practices. The

TCPA regulates, inter alia, the use of automated dialing systems. Specifically, section

227(b)(1)(A)(iii) prohibits the use of autodialers to make any call to a wireless number

in the absence of an emergency or the prior express consent of the called party. The

TCPA’s definition of an automatic telephone dialing system includes a “predictive

dialer.” Soppet v. Enhanced Recovery Co., LLC, 679 F.3d 637, 638-9 (7th Cir. 2012).

       14.    According to findings by the Federal Communication Commission

(“FCC”), the agency Congress vested with authority to issue regulations implementing

the TCPA, such calls are prohibited because, as Congress found, automated or

prerecorded telephone calls are a greater nuisance and invasion of privacy than live



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solicitation calls, and such calls can be costly and inconvenient. The FCC also

recognized that wireless customers are charged for incoming calls whether they pay in

advance or after the minutes are used. Rules and Regulations Implementing the Telephone

Consumer Protection Act of 1991, CG Docket No. 02-278, Report and Order, 18 FCC Rcd

14014 (2003).

       15.      On January 4, 2008, the FCC issued a Declaratory Ruling confirming

that autodialed calls and calls using an artificial voice or pre-recorded message to a

wireless number by a creditor or on behalf of a creditor are permitted only if the calls

are made with the “prior express consent” of the called party. In the Matter of Rules and

Regulations Implementing the Telephone Consumer Protection Act of 1991 (“FCC Declaratory

Ruling”), 23 F.C.C.R. 559, 23 FCC Rcd. 559, 43 Communications Reg. (P&F) 877, 2008

WL 65485 (F.C.C.) (2008).

       16.      The FCC “emphasize[d] that prior express consent is deemed to be granted

only if the wireless number was provided by the consumer to the creditor, and that

such number was provided during the transaction that resulted in the debt owed.” FCC

Declaratory Ruling, 23 F.C.C.R. at 564-65 (¶10).

       17.      Under the TCPA and pursuant to the FCC’s January 2008 Declaratory

Ruling, the burden is on Defendant to demonstrate that Plaintiff gave her express

consent to Defendant to use an autodialer to call her cell phone within the meaning of

the statute. See FCC Declaratory Ruling, 23 F.C.C.R. at 565 (¶ 10).

       18.      Plaintiff never listed her cellular telephone number in or on any

documents during a transaction with Defendant (or any creditor), nor did she

subsequently give her express consent to receive calls on her cellular telephone. At no

time did she consent to receiving calls using an artificial voice.



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       19.    In calling Plaintiff on her cellular telephone line multiple times at

various times per day using an ATDS and without her consent, Defendant violated 47

U.S.C. § 227(b).

                               Class Action Allegations

       20.    Plaintiff brings this class action pursuant to Federal Rule of Civil

Procedure 23 on behalf of herself and on behalf of all others similarly situated.

       21.    The proposed TCPA Class that Plaintiff seeks to represent is defined as

follows:

              All persons who had or have a number assigned to a cellular
              telephone service, which number was called by Defendant using an
              automatic telephone dialing system and/or an artificial or
              prerecorded voice from four years prior to the date of filing
              through the date of trial. Excluded from the class are persons who
              Defendant called for emergency purposes and persons who
              voluntarily provided their cellular telephone numbers to Defendant
              during the transaction that resulted in the debt owed.

       22.    Collectively, these persons will be referred to as “Class members.”

Plaintiff represents, and is a member of, the proposed Class. Excluded from the Class

are Defendant and any entities in which Defendant or their subsidiaries or affiliates

have a controlling interest, Defendant’s agents and employees, the judicial officer to

whom this action is assigned and any member of the court staff and immediate family,

and claims for personal injury, wrongful death, and emotional distress.

       23.    Plaintiff does not know the exact number of members in the Class, but

based upon Defendant’s public statements regarding its business in the United States

and investigation of her counsel, Plaintiff reasonably believes that members of the

proposed class numbers in the tens of thousands, if not more. The estimated Class size

includes consumers who are obligated on debts serviced by Defendant, as well as




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persons who co-signed for those debts, and all other persons whom Defendant or their

affiliates, agents, contractors, or employees dialed (or mis-dialed).

       24.    There are questions of law and fact common to the members of the Class

that predominate over any questions affecting only individual members, including,

whether Defendant made any call (other than a call made for emergency purposes or

made with the prior express consent of the called party) using any automatic telephone

dialing system and/or an artificial or prerecorded voice to any telephone number

assigned to a cellular telephone service in violation of the TCPA.

       25.    Plaintiff’s claims are typical of the claims of the members of the Class.

Plaintiff has no interests antagonistic to those of the Class, and Defendant has no

defenses unique to Plaintiff.

       26.    Plaintiff will fairly and adequately protect the interests of the Class, and

has retained attorneys experienced in class and complex litigation.

       27.    A class action is superior to all other available methods for the fair and

efficient adjudication of the controversy for the following reasons:

              a. It is economically impractical for members of the Class to prosecute

                 individual actions;

              b. The Class is readily definable; and

              c. Prosecution as a class action will eliminate the possibility of

                 repetitious litigation.

       28.    A class action will cause an orderly and expeditious administration of the

claims of the Class. Economies of time, effort, and expense will be fostered and

uniformity of decisions will be ensured.

       29.    Class wide relief is essential to compel Defendant to comply with the



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TCPA. The interest of Class members in individually controlling the prosecution of

separate claims against Defendant is small because the statutory damages in an

individual action for violation of the TCPA is small. Management of these claims is

likely to present significantly fewer difficulties than are presented in many class claims

because the calls at issue are all automated and the Class members, by definition, did

not provide the prior express consent required under the statute to authorize calls to

their cellular telephones.

          30.   Defendant has acted on grounds generally applicable to the members of

the Class, thereby making final injunctive relief and corresponding declaratory relief

with the respect to the Class as a whole appropriate. Moreover, the TCPA violations

complained of herein are substantially likely to continue in the future if an injunction

is not entered.

                                  First Claim for Relief

          31.   Plaintiff re-alleges and incorporates by reference the above paragraphs as

though set forth fully herein.

          32.   The foregoing act and omissions of Defendant constitutes numerous and

multiple violations of the TCPA, including but not limited to each of the above-cited

provisions of 47 U.S.C. § 227.

          33.   As a result of Defendant’s negligent violations of the TCPA, Plaintiff and

Class members are entitled to an award of $500 in statutory damages for each and every

call placed in violation of the statute, pursuant to 47 U.S.C. § 227(b)(3)(B).

          34.   Plaintiff and all Class members are also entitled to and do seek injunctive

relief prohibiting such negligent conduct that violates the TCPA by Defendant in the

future.



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                                  Second Claim for Relief

          35.   Plaintiff re-alleges and incorporate by reference the above paragraphs as

though set forth fully herein.

          36.   The foregoing acts and omissions of Defendant constitute numerous and

multiple knowing or willful, or both, violations of the TCPA, including but not limited

to each of the above-cited provisions of 47 U.S.C. § 227.

          37.   As a result of Defendant’s knowing and willful violations of the TCPA,

Plaintiff and each member of the Class are entitled to treble damages of up to $1,500

for each and every call in violation of the statute, pursuant to 47 U.S.C. § 227(b)(3).

          38.   Plaintiff and Class members are also entitled to and do seek injunctive

relief prohibiting such willful conduct that violates the TCPA by Defendant in the

future.

                                    Jury Trial Demand

          39.   Plaintiff demands a jury trial on each of the causes of action set forth

above, including the amount of statutory damages.

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                                     Prayers for Relief

         Wherefore, Plaintiff respectfully prays that judgment be entered against

Defendant Credit One Bank, N.A., for the following:

         1.   An injunction against further violations;

         2.   Damages pursuant to 47 U.S.C. § 227(b)(3);

         3.   Costs of suit reasonable attorneys’ fees as part of a common fund, if any; and

         4.   Such other and further relief as the Court may deem just and proper.

Dated:        December 16, 2014                ANKCORN LAW FIRM, PC
                                               /s/ Mark Ankcorn

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